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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION


CARL WAYNE BUNTION                       §
                                         §
      Plaintiff,                         §
                                         §
vs.                                      §     Civil No. 4:22-cv-1125
                                         §
BRYAN COLLIER, et al.,                   §
                                         §
      Defendants.                        §




                     PLAINTIFF’S COMPLAINT FILED
                      PURSUANT TO 42 U.S.C. § 1983

                   Mr. Buntion is scheduled to be executed
                       on April 21, 2022, after 6:00 pm.


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delay caused by the State would violate his rights under the
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Exhibit 1        Excerpt of Buntion’s medical records




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               IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION


CARL WAYNE BUNTION                       §
                                         §
      Plaintiff,                         §
                                         §
vs.                                      §   Civil No. 4:22-cv-
                                         §
BRYAN COLLIER, et al.,                   §
                                         §
      Defendants.                        §


                    PLAINTIFF’S COMPLAINT FILED
                     PURSUANT TO 42 U.S.C. § 1983

                                 Introduction

        1.     Plaintiff Carl Wayne Buntion is scheduled to be executed on

April 21, 2022. He has been incarcerated under a sentence of death for

over thirty-one years, after originally being sentenced to death on

January 24, 1991 in the 178th District Court of Harris County, Texas.

For almost two-thirds of the time he has been on death row, Buntion

was incarcerated under an unconstitutional sentence. That sentence

was vacated in 2009 because the Texas capital sentencing scheme did

not permit jurors to give effect to mitigating evidence, in violation of the

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Eighth Amendment. Buntion was subsequently again sentenced to

death in 2012. However, as is discussed more fully below, by that late

date, most if not all of the witnesses Buntion’s trial counsel hoped to

call as witnesses had died.

       2.      Buntion turned seventy-eight years old on March 30, 2022.

He is the oldest person incarcerated on death row in Texas.1 He often

requires the use of a wheelchair and experiences vertigo so severe that

he cannot be housed in a cell which is not on the ground floor. See

Exhibit 1 (Excerpt of Buntion’s medical records). After such a lengthy

incarceration, his execution on April 21, 2022 would serve neither of the

permissible purposes of the death penalty.

                                        Jurisdiction

       3.      This court has jurisdiction under 28 U.S.C. §§ 1331, 1343,

1651, 2201, and 2202, and under 42 U.S.C. § 1983.

       4.      The claim addressed herein is properly brought in a 1983

action because it is concerned with the method by which the State


       1
          If Buntion is executed on April 21, he will be the oldest person executed in Texas in the
modern era and third oldest executed in the United States during the modern era. See Death
Penalty Information Center, Execution Database,
https://deathpenaltyinfo.org/executions/execution-database.
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intends to execute Plaintiff: that is, the State sent Buntion to death row

by an unconstitutional process; it then kept him there and delayed

affording him a constitutional trial for two decades; throughout that

time, the State actively resisted Plaintiff’s attempts to obtain a

constitutional sentencing proceeding. The challenge brought in this

Petition is not to the legality of the 2012 sentencing proceeding; instead,

it is to the State’s method of holding Buntion on death row for over

three decades, most of which time it was holding him under an

unconstitutional sentence. See Johnson v. Bredesen, 130 S. Ct. 541, 543

(2009) (Stevens, J. respecting the denial of certiorari). Had the State not

directly caused the delay of Plaintiff’s execution by providing Plaintiff

an unconstitutional sentencing trial in 1991 and then resisting

Plaintiff’s attempts to have the error corrected for almost twenty years,

“the State would have been quite free, as a constitutional matter, to ‘go

forward with the sentence.’” Id. (quoting Nelson v. Campbell, 541 U.S.

637, 644 (2004)). As such, the claim raised herein does not call into

question the validity of the sentence itself but instead the method of

execution and is, for that reason, cognizable in an action brought


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pursuant to section 1983. See Nelson, 541 U.S. at 644.

                                   Venue

      5.    Venue is proper under 28 U.S.C. § 1391 because defendants

reside in the Southern District of Texas. Venue is also proper because

Plaintiff’s execution will occur in this district.

                                   Parties

      6.    Plaintiff Carl Buntion is currently incarcerated under a

sentence of death at the Polunsky Unit of the Texas Department of

Criminal Justice (“TDCJ”) in Livingston, Texas. He is scheduled to be

executed on April 21, 2022.

      7.    Defendant Bryan Collier is the executive director of the

Texas Department of Criminal Justice. He is being sued in his official

capacity. He is responsible for the oversight and enforcement of policies

and procedures generally applicable to all prisons and all prisoners and

is responsible for carrying out Buntion’s execution.

      8.    Defendant Bobby Lumpkin is the director of the Correctional

Institutions Division of the Texas Department of Criminal Justice. He is

being sued in his official capacity. Mr. Lumpkin is the person charged


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by the trial court’s order to execute the judgment of death against

Buntion.

      9.    Defendant Dennis Crowley is the senior warden of the

Huntsville Unit, the unit at which TDCJ executes inmates. He is being

sued in his official capacity. As the warden of the Huntsville Unit, Mr.

Crowley is the TDCJ official that supervises Texas executions.

                         Procedural background

      A.    1991 trial and appeals

      10.   On June 28, 1990, Buntion was indicted for intentionally

and knowingly causing the death of Houston Police Officer James Irby.

I Tr. 5.2 Pretrial publicity was extensive in the Houston area, and, as a

result, Judge William Harmon ordered the trial be convened in

Gillespie County. Id. at 53. Guilt phase proceedings commenced on

January 14, 1991, and the jury subsequently found Buntion guilty of

capital murder on January 17. 61 S.F. 945.




      2 Citations to the Clerk’s Record of Buntion’s 1991 trial appear in this
pleading as [volume number] Tr. [page number]. Citations to the Reporter’s Record
of Buntion’s 1991 trial appear herein as [volume number] S.F. [page number].
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      11.    The punishment phase commenced on January 21. At the

conclusion of the punishment phase proceedings, the court charged the

jury with answering two special issues, the answers to which would

determine whether Buntion would be sentenced to death or life in

prison. 64 S.F. 530; I Tr. 355-58. The first special issue was whether

Buntion’s conduct that caused the death of Officer Irby was “committed

deliberately and with the reasonable expectation that the death of the

deceased or another would result.” I Tr. 355; see also Tex. Code Crim.

Proc. art. 37.0711, § 3(b)(1). The second special issue asked the jury to

determine whether there was “a probability that . . . Buntion would

commit criminal acts of violence that would constitute a continuing

threat to society.” I Tr. 357; see also Tex. Code Crim. Proc. art. 37.0711,

§ 3(b)(2).

      12.    More than a year before Buntion’s trial – that is, more than

a year before the trial judge charged the jury in Buntion’s case – the

Supreme Court had ruled, in another case from Texas, that neither of

the special issues then-specified by Texas law required or even

permitted the jury to consider mitigating evidence. See Penry v.


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Lynaugh (Penry I), 492 U.S. 302, 328 (1989). To that extent, the Texas

death penalty statute was unconstitutional. However, rather than

instructing the jury in Buntion’s case to answer a question related to

mitigating evidence, the trial court simply told the jurors to consider

mitigating evidence while deliberating on the two special issues and, if

they found that a life sentence was appropriate, then they should

answer one of the two special issues with a “no” regardless of what they

otherwise believed the answer to the special issue should be. I Tr. 353-

54.

       13.   Buntion’s attorneys had anticipated the trial court would

give the jury this so-called nullification instruction rather than do what

it should have done pursuant Penry I – i.e., ask the jurors to decide a

separate special issue pertaining to mitigating evidence – and for that

reason, on November 4, 1990 (over two months before Buntion’s trial

commenced), the attorneys filed a motion that asked the trial court to

include a special issue that would have expressly required the jury to

consider mitigating evidence. I Tr. 196-97. The trial court did not

immediately act on the motion but instead denied it near the end of the


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punishment phase of Buntion’s trial. 14 S.F. 6; 63 S.F. 488-89. On

January 24, 1991, the jury returned with “yes” answers to both the

deliberateness special issue and the future dangerousness special

issue, and Buntion was sentenced to death. I Tr. 355-58; 64 S.F. 618-

22.

       14.   Buntion then appealed his conviction and sentence to the

Texas Court of Criminal Appeals (“CCA”). Two of the claims Buntion

raised on direct appeal – i.e., points of error 49 and 62 – pertained the

trial court’s denying his motion that asked the trial court to include a

special issue pertaining to mitigation. Buntion v. State, No. 71,238,

1995 Tex. Crim. App. Unpub. LEXIS 2, at *60-61 (Tex. Crim. App. May

31, 1995). In denying relief on these claims, the CCA wrote that the

jurors could have given “proper effect” to mitigation by answering “no”

to the future dangerousness question. Id. That court affirmed Buntion’s

conviction and sentence on May 31, 1995.

       15.   Buntion filed his initial state application for a writ of habeas

on March 31, 1997. SHCR-2 182.3 The forty-seventh, fifty-seventh, and


       Citations to the State Habeas Clerk’s Record of Buntion’s initial state
       3

habeas proceeding, No. WR-22,548-02, appear in this pleading at SHCR-2 [page
                                        14
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fifty-eighth claims raised in the application asked the state habeas

court to reverse Buntion’s death sentence because the jurors were not

able to give effect to the mitigating evidence presented at trial, because

the trial court denied Buntion’s request for a special issue that would

specifically address mitigation. SHCR-2 134-36, 162-63. The trial court

issued its Findings of Fact and Conclusions of Law on September 29,

2003. Supp. SHCR-2 69. Two years before the trial court entered its

findings, on June 4, 2001, the Supreme Court issued its opinion in

Penry v. Johnson (Penry II), 532 U.S. 782 (2001). In Penry II, the

Supreme Court made clear that any belief that its mandate in Penry I

was satisfied by a nullification instruction was “objectively

unreasonable.” Penry II, 532 U.S. at 803-04.

      16.   In light of Penry II, therefore, it was unmistakably clear that

Buntion was entitled to relief on his claims. The trial court, however,

found that Buntion’s claims should not “be considered in the instant

writ proceeding” because the CCA had denied Buntion relief on related

claims on direct appeal. Supp. SHCR-2 64, para. 37. The CCA adopted


number]. Citations to the Supplemental volume of the record appear herein as
Supp. SHCR-2 [page number].
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the trial court’s findings and conclusions in denying Buntion relief on

November 5, 2003. Ex parte Buntion, No. WR-22,548-02, 2003 Tex.

Crim. App. Unpub. LEXIS 9, at *1 (Tex. Crim. App. Nov. 5, 2003).

     17.   Buntion then sought federal review of his conviction and

sentence, filing his amended petition for a writ of habeas corpus in the

federal district court on December 30, 2004. Buntion v. Dretke, No. 4:04-

cv-01328 (S.D. Tex. Dec. 30, 2004), ECF No. 23. Buntion’s then-counsel

raised thirty-eight claims for relief. The twenty-forth claim was that

Article 37.071 of the Texas Code of Criminal Procedure is

unconstitutional as applied to Buntion’s case because it failed to allow

his jurors to give effect to mitigating evidence. Id. at 96-98. With

respect to this claim, the district court found Buntion was not entitled

to relief because, notwithstanding the nullification instruction, the jury

was able to give sufficient effect to the mitigating evidence he presented

at trial. Buntion v. Dretke, No. 4:04-cv-01328, 2006 WL 8453025, at *27-

28 (S.D. Tex. Apr. 28, 2006). The district court’s opinion relied on a

March 22, 2006 decision from the United States Court of Appeals for

the Fifth Circuit from Billie Coble’s case. Buntion, 2006 WL 8453025, at


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*27-28. That opinion was subsequently withdrawn in light of the

Supreme Court’s opinions in Abdul-Kabir v. Quarterman, 550 U.S. 233

(2007), and Brewer v. Quarterman, 550 U.S. 286 (2007), in which the

Supreme Court made clear that a jury must be able to give full effect,

and not merely sufficient effect, to mitigating evidence. Coble v.

Quarterman, 496 F.3d 430, 433 (5th Cir. 2007).4

      B.     Subsequent state habeas proceeding

      18.    Less than five months after his initial federal habeas

proceeding concluded, on July 14, 2009, Buntion raised a claim

pursuant to Penry II in the state habeas court. SHCR-3 22.5 On

September 30, 2009, the CCA held the “nullification instruction given to

[Buntion’s] jury was not a sufficient vehicle to allow jurors to give

meaningful effect to the mitigating evidence presented” at his 1991 trial


      4  The district court did grant Buntion relief on his claims related to the trial
court’s bias, claims which made up a large part of the habeas petition. Buntion,
2006 WL 8453025, at *24. However, following the government’s appeal, the court of
appeals vacated the portion of the district court’s order granting Buntion relief.
Buntion v. Quarterman, 524 F.3d 664, 671 (5th Cir. 2008). The Supreme Court
denied Buntion’s Petition for a Writ of Certiorari on February 23, 2009. Buntion v.
Quarterman, 555 U.S. 1176 (2009).

      5Citations to the State Habeas Clerk’s Record of Buntion’s subsequent state
habeas proceeding, in which he raised a claim pursuant to Penry II, i.e., No. WR-
22,548-03, appear in this pleading as SHCR-3 [page number].
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and remanded his case to the state trial court for a new punishment

hearing. Ex parte Buntion, No. AP-76,236, 2009 WL 3154909, at *2

(Tex. Crim. App. Sept. 30, 2009). As explained above, Buntion had, by

this point, argued for almost nineteen years that the nullification

instruction was not adequate.

     C.    2012 retrial and subsequent appeals

     19.   The new punishment phase proceeding ordered by the CCA

commenced on February 21, 2012. The mitigation case put on by trial

counsel was remarkably thin – not necessarily because there was no

mitigation case to be had, but because the passage of time had made it

impossible to adequately investigate and present the mitigating

evidence. During the twenty-one years that passed between Buntion’s

first and second trials (a period during which he was being held under

an unconstitutional sentence), life history records were destroyed and

crucial witnesses either died or became otherwise unavailable.

     20.   At the conclusion of the evidence, the trial court charged the

jury. At this trial, the jury had to answer four special issues. The first

question, which was also asked of his 1991 jury, was whether Buntion


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had acted deliberately in killing Officer Irby. Tex. Code Crim. Proc. art.

37.0711, § 2(b)(1). The second special issue the jury addressed was the

so-called future dangerousness special issue, which asks the jury to

determine whether the evidence had demonstrated “beyond a

reasonable doubt there is a probability that [Buntion] would commit

criminal acts of violence that would constitute a continuing threat to

society.” Tex. Code Crim. Proc. art. 37.0711, § 2(b)(2). The third special

issue asked the jury to determine whether Buntion’s action was an

unreasonable response to any provocation by Officer Irby. Tex. Code

Crim. Proc. art. 37.0711, § 2(b)(3). Finally, addressing the error which

led to Buntion’s being retried, the fourth special issue asked the jury

whether “there is a sufficient mitigating circumstance or circumstances

to warrant that a sentence of life imprisonment rather than a death

sentence be imposed.” Tex. Code Crim. Proc. art. 37.0711, § 2(e). On

March 6, 2012, the jury returned answers to each of the four special

issues, finding that Buntion had acted deliberately, would commit

future acts of violence, had acted unreasonably in response to any

provocation from Officer Irby, and that there were not sufficient


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mitigating circumstances to warrant sentencing Buntion to life in

prison instead of the death. Accordingly, on March 6, 2012, Buntion was

again sentenced to death. 45 R.R. 38.6

      21.   The CCA affirmed his sentence on January 27, 2016.

Buntion v. State, 482 S.W.3d 58 (Tex. Crim. App. 2016). His case

became final when the Supreme Court denied his petition for a writ of

certiorari on June 27, 2016. Buntion v. Texas, 136 S. Ct. 2521 (2016).

      22.   On September 25, 2014, Buntion filed a state habeas

application pursuant to Article 11.071. The trial court entered its

findings of fact and conclusions of law recommending relief be denied on

December 28, 2016. State’s Proposed Findings of Fact, Conclusions of

Law & Order, Ex parte Buntion, No. 588227-C (178th Dist. Ct., Harris

County, Tex. Aug. 30, 2016). Based on the trial court’s findings and

conclusions and its own review, the CCA denied Buntion relief on June

7, 2017. Ex parte Buntion, No. WR-22,548-04, 2017 WL 2464716 (Tex.

Crim. App. June 7, 2017).



      6Citations to the Reporter’s Record Buntion’s second trial—State v. Buntion,
No. 588227 (178th Dist. Ct., Harris County, Tex. Mar. 6, 2012)—are cited herein as
[volume number] R.R. [page number].
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        23.   On September 18, 2017, undersigned Counsel were

appointed to represent Buntion in his federal habeas proceeding. Order,

Buntion v. Davis, No. 4:17-cv-02683 (S.D. Tex. Sept. 18, 2017), ECF No.

2. Counsel filed Buntion’s federal habeas petition on June 7, 2018. The

district court entered an order denying Buntion relief and a certificate

of appealability. Mem. & Order, Buntion v. Lumpkin, No. 4:17-cv-02683

(S.D. Tex. Mar. 5, 2020), ECF No. 26. On appeal, the United States

Court of Appeals for the Fifth Circuit agreed that Buntion was not

entitled to a certificate of appealability on any of his claims. Buntion v.

Lumpkin, 982 F.3d 945, 953 (5th Cir. 2020). The Supreme Court

subsequently denied his Petition for Writ of Certiorari on October 4,

2021.

        24.   The day after the Supreme Court denied certiorari, the

District Attorney’s Office informed Counsel it intended to ask the trial

court to set an execution date for Mr. Buntion. Counsel immediately

began working on a habeas application to file in the state courts.

Counsel filed the application on December 8, 2021 – almost a full month

before the trial court entered its January 4 order scheduling Buntion to


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be executed. The CCA did not act on the application immediately, or

even soon after a date was set. Instead the CCA waited until March 30,

2022 – almost four months after Counsel filed the application and only

three weeks before Buntion is scheduled to be executed – to enter its

order dismissing the application.

     25.   Buntion subsequently filed a petition for writ of habeas

corpus in the federal district court. That petition, which Buntion

believes in neither second nor successive within the meaning of 28

U.S.C. § 2244, remains pending as of the date this Complaint is filed.

              Exhaustion of administrative remedies

     26.   Plaintiff does not believe that exhaustion is necessary under

the Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e, because

there are no available administrative remedies that could address the

challenged constitutional violation.

     27.   While there is no requirement that a claim raised in a § 1983

action be exhausted in the state courts, the claim raised herein was so

exhausted. Plaintiff presented this claim to the state habeas court in an

application filed by Counsel on December 8, 2021. The factual basis for


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the claim is the thirty-one years Buntion has been incarcerated under a

sentence of death.

     28.   In its March 30 Order dismissing Buntion’s claims, the CCA

wrote that it had found that Buntion “failed to satisfy the requirements

of Article 11.071, § 5(a)” and that it dismissed his application “as an

abuse of the writ without considering the claims’ merits.” Ex parte

Buntion, No. WR-22,548-05 (Tex. Crim. App. Mar. 30, 2022).

     29.   Because the factual predicate was not available when

Buntion filed his most recent prior state habeas application on

September 25, 2014, this Court should find that the CCA’s order

indicates that court considered the merits of Buntion’s claim and found

that the claim did not make a prima facie case that he is entitled to

relief from his death sentence. See generally In re Davila, 888 F.3d 179,

188 (5th Cir. 2018) (quoting Rocha v. Thaler, 626 F.3d 815, 837 (5th Cir.

2010)) (indicating this Court is “not required ‘to check [its] common

sense at the door when [it] read[s] an opinion of the [CCA] with an eye

toward ascertaining its decisional basis’”).




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     30.   In any event, and regardless of whether the CCA did in fact

consider the merits, that court had the opportunity to do so.

Consequently, insofar as exhaustion is required, Buntion, by providing

the state court with the opportunity to address the claim and provide

relief, has exhausted his state court remedies.

                            Cause of Action

Buntion’s execution after over three decades of delay caused by
   the State would violate his rights under the Eighth and
                  Fourteenth Amendments.

     31.   Plaintiff incorporates and realleges each of the allegations

contained in paragraphs 1 through 30 of this Complaint.

     32.   42 U.S.C. § 1983 provides:

     Every person who, under color of any statute, ordinance,
     regulation, custom or usage, of any State or Territory or the
     District of Columbia, subjects, or causes to be subjected, any
     citizen of the United States or other person within the
     jurisdiction thereof to the deprivation of any rights,
     privileges, or immunities secured by the Constitution and
     laws, shall be liable to the party injured in an action at law,
     suit in equity, or other proper proceeding for redress[.]

     33.   The Eighth Amendment to the United States Constitution

prohibits the federal government from inflicting “cruel and unusual

punishments.” The Eighth Amendment is applicable to the states,

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including Texas, by the Due Process Clause of the Fourteenth

Amendment to the United States Constitution.

     34.   Defendants have acted, and continue to act, under color of

state law and have unjustifiably continued to hold Plaintiff under

threat of imminent execution despite Plaintiff being sentenced to death

in 1991.

     35.   As a result of Defendants’ conduct, Plaintiff has suffered and

continues to suffer additional, excessive, gratuitous, and cruel and

unusual punishment in violation of the Eighth and Fourteenth

Amendments by spending more than three decades on death row, the

majority of his in solitary confinement, with the mental anguish that

accompanies the threat of imminent execution.

     36.   Executing Plaintiff now that he has suffered more than three

decades on death row, many chronic medical conditions, the mental

anguish that accompanies the threat of imminent execution, and cruel

conditions of solitary confinement, would serve no penological purpose

and would constitute additional, excessive, gratuitous, and cruel and




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unusual punishment in violation of the Eighth and Fourteenth

Amendments.

     37.   In his opinion dissenting from the denial of certiorari in

Lackey v. Texas, 514 U.S. 1045 (1995), Justice Stevens observed that

neither of the two principal purposes for the death penalty—i.e.,

retribution and deterrence—is served in the case of a defendant who

has spent a significant period of time under a sentence of death. Lackey

v. Texas, 514 U.S. 1045, 1045 (1995) (Stevens, J., dissenting from the

denial of certiorari). Since Lackey, Justice Breyer has expressed

agreement with Justice Stevens’ view. See, e.g., Barr v. Purkey, 140 S.

Ct. 2594 (2020) (Breyer, J., dissenting from the order vacating stay);

Jordan v. Mississippi, 138 S. Ct. 2567 (2018) (Breyer, J., dissenting

from the denial of certiorari); Conner v. Sellers, 136 S. Ct. 2440, 2441

(2016) (Breyer, J., dissenting from the denial of certiorari); Valle v.

Florida, 564 U.S. 1067 (2011) (Breyer, J., dissenting from the denial of

certiorari); Smith v. Arizona, 552 U.S. 985 (2007) (Breyer, J., dissenting

from the denial of certiorari).




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     38.   As a defendant’s time on death row lengthens, the

justification for the imposition of the death penalty weakens, and the

Eighth Amendment concerns accordingly grow. See Lackey, 514 U.S. at

1045 (suggesting that a 17-year delay in execution would not have been

acceptable to the Framers, nor would execution after such delay serve

the societal purposes of retribution and deterrence); see also Gregg v.

Georgia, 428 U.S. 153, 177, 182-83 (1976) (cautioning that any criminal

sanction imposed “cannot be so totally without penological justification

that it results in the gratuitous infliction of suffering”); Furman v.

Georgia, 408 U.S. 238, 312 (1972) (White, J., concurring) (noting that

when the death penalty ceases to further the social purposes of

retribution and deterrence, “its imposition would then be the pointless

and needless extinction of life” and the death penalty “would be

patently excessive and unusual punishment violative of the Eighth

Amendment”).

     39.   Further, an execution after an extraordinarily long delay is

especially cruel when the cause of delay is a defendant’s meritorious

exercise of his constitutional rights. See Ellege v. Florida, 119 S. Ct.


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366, 366-67 (1988) (Breyer, J., dissenting from the denial of certiorari)

(concluding that execution after imprisonment for twenty-three years

under a sentence of death may be cruel in light of the fact that the

delays were not because of defendant’s frivolous appeals, but rather

due, in large part, to his successful litigation). Beginning months before

his 1991 trial commenced, Buntion began arguing that the nullification

instruction the jurors received did not satisfy the dictates of the Eighth

Amendment. Finally, after pursuing that claim for over twenty-one

years, in 2012, Buntion received a sentencing trial not encumbered by

the error he had been complaining about for so long. The delay in

Buntion’s case was due to “the State’s own faulty procedures and not

because of frivolous appeals on his part.” Ellege, 119 S. Ct. at 367; see

also Thompson v. McNeil, 129 S. Ct. 1299, 1304 (2009) (Breyer, J.,

dissenting from the denial of certiorari) (“it is fair, not unfair, to take

account of the delay the State caused when it initially refused to allow

[Petitioner] to present [mitigating evidence] at the punishment phase of

his trial”); Foster v. Florida, 123 S. Ct. 470, 472 (2002) (Breyer, J.,




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dissenting from the denial of certiorari) (“The length of this confinement

has resulted partly from the State’s repeated procedural errors.”).

     40.   In a contemporaneously filed motion, Plaintiff asks this

Court to find there is a likelihood he will succeed on the merits and, for

that reason, to stay his execution scheduled for April 21, 2022. Unless

and until they are enjoined from executing Plaintiff, Defendants will

continue to and will, in fact, deprive Plaintiff of his Eighth and

Fourteenth Amendment rights.

                            Prayer for relief

     WHEREFORE, Plaintiff Carl Wayne Buntion respectfully

requests judgment as follows:

     A.    For a determination that the cause of action raised herein is

a challenge to the State’s method of execution and therefore cognizable

in an action brought pursuant to § 1983;

     B.    For a judicial declaration that Plaintiff has been and will

continue to be subjected to cruel and unusual punishment in violation of

the Eighth and Fourteenth Amendments unless and until Defendants

are enjoined from executing him;


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     C.    For an injunction prohibiting Plaintiff’s execution both on

April 21, 2022 and at any time in the future; and

     D.    For such other and further relief the Court deems just and

proper.



                        Respectfully submitted,


        /s/ David R. Dow                      /s/ Jeffrey R. Newberry
  __________________________               ___________________________
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                  Counsel for Carl Buntion, Plaintiff




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                               Verification

      I, Jeffrey R. Newberry, attorney for Plaintiff in the above-entitled
action, state that to the best of my knowledge and belief, the facts set
forth in this Complaint are true.

      I declare under penalty of perjury that the foregoing is true and
correct. Executed on April 7, 2022.

                                          /s/ Jeffrey R. Newberry
                                          ______________________
                                          Jeffrey R. Newberry




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                           Certificate of Service

      I certify that on April 7, 2022, I served the foregoing pleading and
attachments on Counsel for Defendants in both Buntion’s habeas
proceedings: Cara Hanna and Gwendolyn Vindell. If those attorneys
inform Counsel other attorneys will represent Defendants in this
proceeding, Counsel will immediately send those attorneys a copy of
this pleading.


                                               s/ Jeffrey R. Newberry
                                               ____________________
                                               Jeffrey R. Newberry




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